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14                               UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16                                    SAN FRANCISCO DIVISION

17

18 In re: CATHODE RAY TUBE (CRT)                         Master Case No. 07-5944 SC
   ANTITRUST LITIGATION                                  MDL No. 1917
19
                                                         DEFENDANTS’ REPLY IN SUPPORT OF
20 This Document Relates to:                             MOTION FOR PARTIAL SUMMARY
                                                         JUDGMENT AS TO INDIRECT
21 INDIRECT PURCHASER ACTIONS                            PURCHASER PLAINTIFFS’ AND
                                                         CERTAIN DIRECT ACTION
22 Interbond Corporation of America v.                   PLAINTIFFS’ STATE LAW CLAIMS ON
   Technicolor SA, et al., No. 13-cv-05727;              STATUTE OF LIMITATIONS GROUNDS
23
   Interbond Corporation of America v. Hitachi,          Date: February 6, 2015
24 Ltd. et al., No. 3:11-cv-06275;                       Time: 10:00 a.m.
                                                         Ctrm: 1
25 Office Depot, Inc. v. Technicolor SA, et al., No.     Judge: Hon. Samuel Conti
   13-cv-05726;
26
   Office Depot, Inc. v. Hitachi, Ltd. et al., No.
27 3:11-cv-06276;

28

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                                                          STATE LAW CLAIMS ON STATUTE OF LIMITATIONS GROUNDS
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 1                                                    I.
 2                                           INTRODUCTION
 3           The parties agree that the remaining issue on this motion is narrowly framed.1 Plaintiffs

 4 concede that Florida law precludes them from relying on a “class action” or “government action”

 5 argument for tolling the FDUTPA’s four-year statute of limitations. As a result, their only

 6 possible remaining argument—and the only remaining basis for tolling alleged in their

 7 complaints—is the doctrine of fraudulent concealment. If this Court concludes that the Florida

 8 Supreme Court likely would not allow this argument under Florida law, then Plaintiffs’ FDUTPA

 9 claims, to the extent based on purchases made more than four years before Plaintiffs filed their

10 original complaints, are untimely and must be dismissed.

11           Plaintiffs do not and cannot dispute that fraudulent concealment is not among the exclusive

12 list of tolling theories available under Florida law. See Fla. Stat. §95.051. Instead, they rely

13 entirely on an argument anticipated and rebutted in Defendants’ opening brief: that fraudulent

14 concealment, despite being regarded by a majority of Florida case law as a tolling theory and

15 alleged as such in Plaintiffs’ complaints, is in fact synonymous under Florida law with a non-

16 tolling doctrine known as “equitable estoppel.” Contrary to Plaintiffs’ assertion, however, Florida

17 courts have regarded these as distinct theories requiring polar opposite factual showings. Under

18 Florida law, “equitable estoppel presupposes that the plaintiff knows of the facts underlying the

19 cause of action but delayed filing suit because of the defendant’s conduct.” Point Blank Solutions,

20 Inc. v. Toyobo Am., Inc., 2011 WL 1833366 at *6 (S.D. Fla. May 13, 2011) (emphasis added).

21 Plaintiffs do not come close to alleging, much less proving, such a theory. Indeed, they allege

22 exactly the opposite: that they did not know of the alleged conspiracy during the limitations

23 period because Defendants “fraudulently concealed” it. That is a fraudulent concealment tolling

24

25   1
     Defendants agree that the recent withdrawal of (1) Sears’ and Kmart’s claims under Mississippi
26 and Florida law; (2) Electrograph’s claim under New York law; and (3) Costco’s claim under
   Florida law, to the extent those claims are now to be regarded as dismissed with prejudice, moots
27 Defendants’ motion with respect to those claims. This motion continues to apply, however, to the
   FDUTPA claims asserted by the Indirect Purchaser Plaintiffs, Interbond, and Office Depot
28 (collectively “Plaintiffs”).

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 1 argument, and as such, its exclusion from Florida’s statutory list of available tolling theories is

 2 dispositive.

 3           Plaintiffs also appear to argue that, because they claim to have sufficiently alleged

 4 fraudulent concealment until November 14, 2007, and filed their original complaints no more than

 5 four years after that date, “no tolling of any type is necessary” for all of their claims to be timely.

 6 But that simply ignores the issue at hand. The issue here is not whether Plaintiffs have adequately

 7 alleged—or even proved—fraudulent concealment as to any particular date. The purely legal

 8 issue is whether fraudulent concealment is a viable tolling theory as a matter of Florida law.

 9 Because it is not, and because Plaintiffs have alleged no other viable tolling theory with respect to

10 their FDUTPA claims, the statute of limitations bars their claims based on purchases made more

11 than four years before they filed their original complaints. A viable tolling theory is thus clearly

12 “necessary” for these claims to be timely, and Plaintiffs’ lack of such a theory is fatal.

13                                                      II.
14                                                ARGUMENT
15 A.        Plaintiffs Do Not Allege—And Cannot Prove—An Equitable Estoppel Theory Under
             Florida Law.
16
             Plaintiffs do not dispute that there is an exhaustive statutory list of tolling theories
17
     available under Florida law, and that fraudulent concealment is not among them. See In re
18
     Cathode Ray Tube (CRT) Antitrust Litig., 27 F.Supp.3d 1015, 1025 (N.D. Cal. 2014) (“Defendants
19
     are right that Section 95.051(1) provides an exclusive list of Floridian tolling doctrines”); see also
20
     Report and Recommendations Regarding Defs.’ Mot. to Dismiss the Compl. of the State of
21
     Florida at 6, Nov. 16, 2012 (ECF No. 1451) (“There is substantial authority that those stated types
22
     of tolling are exclusive, and [] no other tolling doctrine may be applied to Florida’s claims”).
23
     Thus, despite alleging only “fraudulent concealment” and “tolling” in their complaints, Plaintiffs’
24
     only hope for maintaining the FDUTPA claims at issue is to convince this Court that they have
25
     alleged and can prove a distinct, non-tolling “equitable estoppel” theory under Florida law.
26
             In deciding whether Plaintiffs have alleged and proved an equitable estoppel theory, this
27
     Court’s sole objective is to predict how the Florida Supreme Court would decide that question
28

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 1 today in light of all indications provided by that Court to date, including relevant dicta. See Bills

 2 v. U.S. Fidelity & Guar. Co., 280 F.3d 1231, 1234 n. 2 (9th Cir. 2002); see also Carl v. City of

 3 Overland Park, 65 F.3d 866, 872 (10th Cir. 1995) (state supreme court “dicta, which represents

 4 that court's own comment on the development of [state] law, is an appropriate source from which

 5 this prediction may be made.”). In addition, to the extent consistent with state supreme court

 6 precedent, “a federal court is obligated to follow the decisions of the state’s intermediate courts.”

 7 Easyriders Freedom F.I.G.H.T. v. Hannigan, 92 F.3d 1486, 1494 n. 4 (9th Cir. 1996).

 8           While Plaintiffs are correct that some courts, most of them outside Florida, have not been

 9 rigorous in their use of the terms “fraudulent concealment” and “equitable estoppel,” the Florida

10 courts that have directly addressed the issue have recognized that these are entirely distinct

11 theories. The most fundamental difference is that fraudulent concealment is a tolling doctrine and

12 equitable estoppel (as the name implies) is an estoppel doctrine. See Defendants’ Op. Brief at 7-8

13 (collecting Florida authorities recognizing fraudulent concealment as a tolling doctrine). As

14 explained in Defendants’ opening brief, these two types of theories have very different effects on a

15 statute of limitations. A tolling doctrine delays the running of a statute of limitations, preventing

16 it from expiring so long as the requirements of the doctrine are met. An estoppel doctrine, by

17 contrast, applies only after a statute of limitations has already expired, to preclude the defendant

18 from asserting the untimeliness as a defense. See, e.g., Point Blank, 2011 WL 1833366 at *6

19 (explaining distinction between equitable estoppel and tolling); Hearndon v. Graham, 767 So.2d

20 1179, 1184-1185 (Fla. 2000) (discussing unique effect of tolling doctrine); Butler University v.

21 Bahssin, 892 So.2d 1087, 1091 n. 3 (Fla. 2d DCA 2004) (comparing fraudulent concealment

22 tolling to other ways of avoiding a statute of limitations).

23           This basic distinction demonstrates why fraudulent concealment is properly regarded as a

24 tolling doctrine—while the requirements of the doctrine are met, the limitations period does not

25 run; when the requirements of the doctrine cease to be met, the limitations period begins running.

26 See N.L.R.B. v. O’Neill, 965 F.2d 1522, 1526 (9th Cir. 1992) ("Where there is fraudulent

27 concealment, the limitations period begins to run when the charging party knows or should have

28 known of the concealed facts."). That is the hallmark of a tolling theory, not an estoppel theory

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 1 that may be invoked only after the limitations period has expired. See BLACK’S LAW DICTIONARY,

 2 (2d Ed.), p. 712 (“toll,” with respect to a statutory time period, means “to stop the running of; to

 3 abate”).

 4           Consistent with this fundamental difference between the two theories, Florida courts have

 5 recognized that fraudulent concealment and equitable estoppel require different—indeed,

 6 contradictory—factual showings. While fraudulent concealment requires proof of fraudulent

 7 conduct that prevented the plaintiff from discovering the wrongful conduct during the limitations

 8 period, equitable estoppel applies where the plaintiff did know about the wrongful conduct during

 9 the limitations period, but delayed filing suit in reliance on the defendant’s conduct—e.g., a false

10 promise to compensate. See, e.g., Point Blank, 2011 WL 1833366 at * 6 (“equitable estoppel

11 presupposes that the plaintiff knows of the facts underlying the cause of action but delayed filing

12 suit because of the defendant's conduct.”); Ryan v. Lobo De Gonzalez, 841 So.2d 510, 518 (Fla.

13 4th DCA 2003) (“Ryan I”) (same); Bell v. Fowler, 99 F.3d 262, 266 n. 2 (8th Cir.1996) (same).

14           There is no split of authority on this issue under Florida law. As recently summarized by

15 Justice Cantero of the Florida Supreme Court: “Every case that has applied the [equitable

16 estoppel] doctrine to avoid a statute of limitations defense involved plaintiffs who knew of their

17 cause of action and were induced to forebear from filing suit.” Ryan v. Lobo De Gonzalez, 921

18 So.2d 572, 576 (Fla. 2005) (“Ryan II”) (Cantero, J., dissenting from discharge of jurisdiction)

19 (emphasis added). Plaintiffs make no serious attempt to address these authorities. Contrary to

20 Plaintiffs’ assertion, these decisions are not “unreported” or “out-of-state”; they are directly on

21 point, uncontradicted decisions by Florida courts and federal district courts applying Florida law.

22 See Wade v. Emcasco Insurance Co., 483 F.3d 657, 665-666 (10th Cir. 2007) (“district court

23 decisions interpreting the law of the state in question” are relevant to resolving issue of state law).

24           It is beyond dispute that a plaintiff must properly allege every theory it claims affects the

25 normal operation of the statute of limitations and, in the case, of equitable estoppel based on

26 fraudulent conduct, must do so with “particularity.” See, e.g., Wasco Prods. v. Southwall Techs.,

27 Inc., 435 F.3d 989, 991 (9th Cir.2006) (“plaintiffs seeking to toll the statute of limitations on

28 various grounds must have included the allegation in their pleadings.”) (collecting authorities);

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 1 Allen v. United Fin. Mortg. Corp., 2010 WL 1135787, at *1 (N.D. Cal. Mar. 22, 2010) (Conti, J.)

 2 (same); Cervantes v. Countrywide Home Loans, Inc., 656 F.3d 1034, 1045-46 (9th Cir. 2011)

 3 (plaintiffs failed to demonstrate basis for equitable tolling or fraudulent concealment); see also

 4 Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005) (recognizing that plaintiff bears burden of

 5 establishing basis for tolling).

 6           Here, Plaintiffs do not come close to alleging, much less proving, an equitable estoppel

 7 theory as defined under Florida law. Each of the Plaintiffs alleges only that the statute of

 8 limitations was “tolled” due to Defendants’ “fraudulent concealment”—i.e., that Defendants

 9 engaged in “deceptive practices” during the alleged relevant period that prevented Plaintiffs from

10 discovering the alleged conspiracy at an earlier date.2 There is no allegation whatsoever that the

11 statute of limitations expired before Plaintiffs filed their complaints, but that Defendants are

12 nonetheless estopped (under the doctrine of equitable estoppel or on any other basis) from

13 asserting the statute of limitations as a defense. Nor could Plaintiffs’ complaints somehow be read

14 to imply an equitable estoppel theory because, as noted, such a theory would directly contradict

15 the allegations that they do make—i.e., that they did not know of the alleged conspiracy during the

16 limitations period. Plaintiffs’ failure to allege equitable estoppel is dispositive.

17           Even if Plaintiffs’ straightforward and dispositive pleading deficiencies could simply be
18 ignored (which they cannot) Plaintiffs are also wrong that Florida courts have recently conflated

19 the doctrines of fraudulent concealment and equitable estoppel. As predicted, Plaintiffs rely

20 virtually entirely on the LCD court’s decision, which in turn relies virtually entirely on two

21 decisions of the Florida Supreme Court, Fla. Dep’t of Health & Rehab. Servs. v. S.A.P., 835 So.

22 2d 1091 (Fla. 2003) (“S.A.P.”), and Major League Baseball v. Morsani, 790 So.2d 1071, 1080

23 (Fla. 2001) (“Morsani”). As set forth in Defendants’ opening brief, however, neither S.A.P. nor

24 Morsani purport to overrule the traditional definition of equitable estoppel under Florida law as

25 applying where, unlike here, a plaintiff claims to have become aware of its cause of action during

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     2
27  See, e.g., Interbond First Amended Complaint (ECF No. 1974), ¶¶ 210-225; Office Depot First
   Amended Complaint (ECF No. 1977), ¶¶ 221-236; Indirect Purchaser Plaintiffs’ Fourth
28 Consolidated Complaint (ECF No. 1526), ¶ 296.

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 1 the limitations period—and indeed, both decisions are fully consistent with that requirement.

 2 Perhaps most importantly, more recent Florida authority—which Plaintiffs all but ignore—

 3 expressly rejects the interpretation of S.A.P. and Morsani that Plaintiffs now urge the Court to

 4 adopt.

 5           Morsani stands for the unremarkable proposition, on which the parties agree, that equitable

 6 estoppel is not a tolling doctrine, but an estoppel theory. 790 So.2d at 1080. The decision goes no

 7 further: the Court expressly refused to address the scope of the doctrine or whether it applied to

 8 any given set of facts. Id. Even so, the decision is replete with citations to authorities (none of

 9 which the Court purports to overrule or criticize) confirming the traditional understanding of the

10 doctrine. And the facts of Morsani involve a classic equitable estoppel scenario—i.e., the plaintiff

11 knew it had a cause of action but decided to delay suit based on the defendant’s fraudulent

12 promise to compensate it after the limitations period had expired. Id. at 1073. Of course, that fact

13 pattern bears no resemblance to Plaintiffs’ fraudulent concealment allegations here.

14           In S.A.P. the Florida Supreme Court did allow the plaintiff, who alleged child sexual

15 abuse, to assert an equitable estoppel theory despite the fact that she did not learn of the cause of

16 action until after the limitations period had expired. 835 So. 2d at 1095-96 & n.7. The Court left

17 open the question of whether this holding applied beyond its facts.

18           As an initial matter, there is nothing unusual about the Florida Supreme Court extending a

19 theory beyond its traditional application under Florida law to benefit a narrow and specific class of

20 plaintiffs, in particular victims of child sexual abuse. It has done so before. As discussed in

21 Defendants’ opening brief, a year after deciding S.A.P. the Court issued a similar decision with

22 respect to the distinct “delayed discovery” doctrine, holding that it applied under Florida law only

23 in specified malpractice, products liability, and child abuse cases. See Davis v. Monahan, 832

24 So.2d 708, 710 (Fla. 2002). Plaintiffs concede that this authority cannot be used to further expand

25 the delayed discovery doctrine to apply to this antitrust case. But that is exactly what they attempt

26 to do with S.A.P. and the equitable estoppel doctrine.

27           The most recent Florida authority addressing these doctrines, which Plaintiffs do not

28 meaningfully address, is the Florida Court of Appeal’s decision in Ryan I, which expressly rejects

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 1 Plaintiffs’ arguments here. First, the Ryan I court rejected Plaintiffs’ and the LCD Court’s reliance

 2 on Morsani. See 841 So.2d at 518 (Morsani does not authorize use of equitable estoppel outside

 3 the context of a “wrongdoer prevail[ing] upon the other [party] to forego enforcing his right until

 4 the statutory time has lapsed.”). Next, the court rejected Plaintiffs’ and the LCD Court’s reliance

 5 on S.A.P. See, e.g., id. at 525 (“The question is whether the supreme court in S.A.P. has expanded

 6 the doctrine of equitable estoppel to apply to all situations where a defendant's conduct prevents a

 7 plaintiff from even being aware of a cause of action….[We] conclude that S.A.P. is not an

 8 extension of the law, but a case that is limited to the unique cause of action there at issue.”); id. at

 9 520. Instead, Ryan I, backed by a long line of Florida case law, reaffirms the proposition that,

10 outside the limited context of sexual child abuse at issue in S.A.P., a plaintiff seeking to establish

11 equitable estoppel under Florida law must allege and prove that it knew of its cause of action

12 during the limitations period, but was convinced to defer filing suit in reliance on a false promise

13 to compensate or similar conduct by the defendant.

14           Ryan I, as a decision of an intermediate Florida appellate court that has not been criticized,

15 much less overturned, by the Florida Supreme Court in the twelve years since it was issued, is

16 binding on this Court. Indeed, the Florida Supreme Court refused to hear an appeal of Ryan I,

17 and, in the only written opinion included with that order, Justice Cantero agreed with the appellate

18 court’s decision and the long line of Florida authority on which it was based, opining that S.A.P.

19 was limited to cases of sexual child abuse and “did not intend to announce a broad ruling

20 modifying the traditional requirements for equitable estoppel.” Ryan II, 921 So.2d at 573. No

21 other member of the Court has ever opined otherwise.

22           A significant majority of Florida courts and federal courts applying Florida law,

23 culminating in the most recent Ryan I and Ryan II decisions, confirms that equitable estoppel is a

24 limited doctrine that Plaintiffs did not allege and cannot prove. Plaintiffs’ argument to the

25 contrary relies ultimately on a single authority, the S.A.P. decision, which more recent case law,

26 including the most recent behavior from the Florida Supreme Court, confirms has no application

27 to this antitrust case.

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 1 B.        Whether Plaintiffs Have “Sufficiently Pled” Fraudulent Concealment Is Irrelevant
             To This Motion.
 2
             Finally, Plaintiffs repeatedly argue that they should be found to have “sufficiently pled”
 3
     fraudulent concealment until November 14, 2007—as this Court has found with respect to two
 4
     other DAPs—and that this somehow renders all of their FDUTPA claims timely. But the issue on
 5
     this motion is not whether Plaintiffs’ allegations are sufficient to invoke the doctrine of fraudulent
 6
     concealment, but whether that doctrine is even available under Florida law. Because the Florida
 7
     Supreme Court would not permit Plaintiffs’ fraudulent concealment tolling argument, the fact that
 8
     Plaintiffs may have otherwise adequately pled such an argument is irrelevant.
 9
                                                      III.
10
                                               CONCLUSION
11
             For the foregoing reasons, and the reasons articulated in Defendants’ opening brief, the
12
     Court should grant partial summary judgment in Defendants’ favor on statute of limitations
13
     grounds as to: (1) Interbond and Office Depot’s FDUTPA claims based on purchases made before
14
     November 14, 2007; and (2) the Indirect Purchaser Plaintiffs’ FDUTPA claims based on
15
     purchases made before November 13, 2003.
16

17
     Respectfully submitted:
18

19 January 23, 2014                                By:       /s/ Michael W. Scarborough
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27           Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
28 document has been obtained from each of the above signatories.

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